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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-CV-80771-ROSENBERG/REINHART

  ROBERT OTTO & JULIE
  HAMILTON,

          Plaintiffs,

  v.

  CITY OF BOCA RATON, FLORIDA
  & COUNTY OF PALM BEACH,
  FLORIDA,

        Defendants.
  ____________________________/

          ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION

          This matter is before the Court upon the Plaintiff’s Motion for Attorney’s fees at docket entry

  221. The Court referred the motion for a report and recommendation at docket entry 222. On

  November 1, 2023, the Magistrate Judge issued a Report and Recommendation recommending that

  the motion be granted in part and denied in part. DE 240. The parties filed objections, responses to

  the objections, and replies to the responses.

          The Court has conducted a de novo review of the Magistrate Judge’s Report and

  Recommendation, the objections, the responses, the replies, and the record and is otherwise fully

  advised in the premises. The Court fully agrees with the analysis and conclusions in the Report and

  Recommendation and finds the Magistrate Judge’s recommendation to be well reasoned and correct.

  The Court fully adopts the reasoning in the Report and Recommendation as the decision of the Court,

  and the Court deems it unnecessary to separately address the parties’ objections because, in the

  Court’s opinion, the Report and Recommendation adequately addresses each objection.

          For the foregoing reasons, it is ORDERED AND ADJUDGED as follows:

       1. The Magistrate Judge’s Report and Recommendation [DE 240] is hereby ADOPTED in its
          entirety and
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     2. The Plaintiff’s Motion for Attorney’s Fees [DE 221] is GRANTED IN PART AND
        DENIED IN PART insofar as the Plaintiffs are awarded $736,887.45 in costs consisting of
        $736,227.53 in attorneys’ fees and $659.92 in non-taxable expenses. Those costs shall be
        shared equally by the Defendants.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 16th day of January,

  2024.

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                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE
